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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 HOPE COLEMAN, individually and as the
 legal representative of the ESTATE of
 TERRENCE J. COLEMAN,
            Plaintiff,                               No. 18-cv-10646-MLW

        v.

 CITY OF BOSTON et al.,
         Defendants.



                     NOTICE OF WITHDRAWAL OF APPEARANCE

    Please withdraw my appearance, Elizabeth L. Bostwick, as counsel for GARRETT
BOYLE and KEVIN FINN.

                                     Respectfully submitted:

                                     /s/ EL Bostwick

                                     ____________________________
                                     Elizabeth L. Bostwick (BBO #644498)
                                     Senior Assistant Corporation Counsel
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                                     Boston, MA 02201
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                                CERTIFICATE OF SERVICE

        I, Elizabeth L. Bostwick, hereby certify that on ___May 1, 2023_______ a true copy of the
above document will be served upon all parties of record via this court’s electronic filing system
and to those non-registered participants via email.

                                             /s/ EL Bostwick


                                             Elizabeth L. Bostwick
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